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4                            UNITED STATES DISTRICT COURT

5                           EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                   No.   2:15-cr-190-GEB
8                    Plaintiff,
9           v.                                   DECISION STRIKING THE COURT’S
                                                 PROPOSED VOIR DIRE QUESTION 14
10   JOHN MICHAEL DICHIARA, et. al.,             AND DISCUSSING THE JUDGE’S
                                                 DISCRETIONARY DECISION AS TO
11                   Defendants.                 WHETHER TO GIVE FIFTH
                                                 AMENDMENT ADMONISHMENTS
12

13
                  The Court has decided to delete the following question
14
     from the Court’s proposed voir dire filed September 7, 2017, and
15
     which is docketed as document 240: “14.             Do you have any bias in
16
     favor or against Catholicism?”          This question was included in the
17
     Court’s     proposed    voir    dire   in    response   to   Defendant   John
18
     DiChiara’s following statements in his trial brief concerning
19
     “Jury Voir Dire”:
20
                  As referenced in the government’s trial
21                brief, witnesses are likely to testify as to
                  certain representation about Mr. DiChiara and
22                his affiliation with the church. The alleged
                  statement will focus on Mr. DiChiara and his
23                capacity as an Archbishop for the church
                  and/or affiliation with the Catholic church.
24                Because of the religious overtones of this
                  case, specific voir dire attention should be
25                given to addressing any bias held by the jury
                  based upon their religious beliefs or lack of
26                religious affiliation.   Because the issue of
                  religion can be a very sensitive issue for
27                some people, it is requested that the Court
                  voir dire the jury on this issue rather than
28                counsel. Requiring counsel to address this
                                        1
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1                issue may cause undue           bias     and   prejudice
                 against Mr. DiChiara.
2
     Def.   DiChiara’s   Trial      Br.,   10:20-26,      ECF   No.   227   (Emphasis
3
     added).
4
                 DiChiara subsequently filed on September 7, 2017, the
5
     following   proposed    vior    dire,   which   he    titled     “Proposed   Jury
6
     Instructions”:
7
                 It is requested that the court provide the
8                jury the following introduction, or something
                 similar, prior to asking any questions about
9                religion.

10                    ”During the testimony in this case, you
                 may hear evidence that a church or religion
11               was somehow involved in the allegation
                 alleged in the indictment. For that reason,
12               I need to briefly inquire into your religious
                 beliefs to make sure you can be a fair and
13               impartial juror.    If you feel uncomfortable
                 talking about your religious beliefs in open
14               court, please raise your hand and I will see
                 what   can  be   done   to   accommodate   your
15               concerns.      Once   I   have   concluded   my
                 questions, the attorneys may have some follow
16               up questions.    Please understand that each
                 case is unique and the questions that all of
17               us are asking are designed to determine
                 whether you can be a fair and impartial juror
18               in this particular case. It is not intended
                 to reflect on your ability to sit as a juror
19               in a different case with different facts.”

20               1. Do you belong to a religious organization
                 such as a church, synagogue, or mosque?
21
                     a. If yes:
22
                         ▪ How often do you attend religious
23                          services?

24                       ▪ Do you consider yourself to be a
                            religious person?
25
                         ▪ Do your family and friends consider
26                          you to be a religious person?
27                       ▪   How important is your religious
                             training to how you live your
28                           life?
                                             2
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1                       ▪ Do you make major life decisions
                          based on religious principles?
2
                        ▪ What religious thinkers or teachers
3                          are most important to you?

4                       ▪   Are you involved in activities
                            related to your place of worship
5                           other than attendance at religious
                            services?
6
                        ▪ Do you hold any offices in your
7                         place of worship?

8                       ▪   How will your beliefs influence
                            your perception of the case?
9
                   b. If no:
10
                        ▪ Do you consider yourself to be a
11                         religious person?

12                      ▪ Do your family and friends consider
                           you to be a religious person?
13
                        ▪    How  would   you   describe         your
14                          feelings about religion?

15                      ▪   If you have children: What are you
                            teaching   your   children   about
16                          religion?

17                      ▪   What, if any,     religion    were   you
                            raised in?
18
                        ▪   How often did you attend religious
19                          services?

20                      ▪   Did you consider yourself to be a
                            religious person?
21
                        ▪   Were you involved in activities
22                          related to your place of worship
                            other than attendance at religious
23                          services?

24                      ▪   How does that experience influence
                            the person you are now?
25
              2.   Do you believe that a church must have a
26            Judeo-Christian origin or be based on a
              belief in God, to be lawfully recognized as a
27            church?

28            3.      Are you familiar with the Church of
                                        3
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1                  Scientology?

2                      a. Do you understand that the Church of
                           Scientology does not require its
3                          members to believe in God?

4                      b. Are you aware that there are other
                          churches    like   the    Church of
5                         Scientology that do not require its
                          members to believe in God?
6
                       c.   Do you believe that churches like the
7                           Church of Scientology, ones that
                            aren’t based on a belief in God, are
8                           somehow not legitimate churches?

9                  4.   Do you understand that what qualifies as
                   a lawful church is determined by the IRS?
10
                   5.   If the IRS determined an organization to
11                 qualify as a church, even though it may not
                   be based on a belief in God, would you still
12                 accept it as a church?

13   Def. Dichiara’s Proposed Jury Instr., ECF No. 239.

14                 On March 15, 2017, the Government filed a Notice of

15   Intent   to    Introduce     Evidence   under   Federal   Rules   of   Evidence

16   404(b)(“Gov’t. 404(b) Notice”), arguing, inter alia:

17                 The United States hereby provides notice of
                   its intent to introduce evidence pursuant to
18                 Federal Rules of Evidence 404(b) relating to
                   defendant John Michael DiChiara, in order to
19                 show intent, common scheme or plan, absence
                   of mistake, or accident. As required by Rule
20                 404(b), the government hereby notifies the
                   defendants of “the general nature of such
21                 evidence” that the government intends to
                   introduce in its case in chief at trial: The
22                 government intends to introduce evidence that
                   DiChiara was engaged in a similar mortgage
23                 elimination scheme in the Sacramento area
                   that predated his involvement in the charged
24                 scheme.   DiChiara used his church, Shon-te-
                   East, to recruit distressed homeowners with a
25                 promise that their mortgage loans would be
                   cleared from title and their mortgage debt
26                 would be eliminated.     This earlier scheme
                   ended in approximately 2009.
27
     Gov’t. 404(b) Notice, 1:17-28, ECF No. 116.
28
                                             4
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2               DiChiara   seeks   to   exclude   the   evidence,      which   the

3    United States contends is admissible under Rule 404(b), arguing,

4    inter alia:

5               The government intends to introduce evidence
                that DiChiara was engaged in a similar
6               mortgage elimination scheme in the Sacramento
                area in 2009 that predated his involvement in
7               the charged scheme. The government contents
                that DiChiara used his church, Shon-te-East,
8               to recruit distressed homeowners with a
                promise that their mortgage loans would be
9               cleared from title and their mortgage debt
                would be eliminated. The government proffer
10              that the evidence of this earlier scheme will
                include, without limitation, the testimony of
11              homeowners involved in the earlier scheme,
                testimony   and  documentary   evidence  from
12              county recorders, testimony and documentary
                evidence from financial institutions, and
13              statements made by DiChiara.
14                   Subsequently,    the   government    has
                identified and approximately 10 individuals
15              who have been interviewed by the FBI and HUD.
                The gravamen of those interviews is that each
16              of the persons interviewed were of Russian
                decent and contacted fellow members of the
17              Russian community, and particularly, the
                Russian Church, about assisting them in
18              stopping a foreclosure on their property. Few
                of the people interviewed even met or had
19              contact with John DiChiara.      And to the
                extent they purportedly did, there is no
20              evidence that the person they spoke to or met
                was in fact John DiChiara or merely someone
21              purporting to be John DiChiara. It should be
                noted, John DiChiara is not Russian and is
22              not a member of the Russian community and
                none of the persons interviewed claimed to be
23              a member of any church associated with Mr.
                DiChiara.
24
     Def. DiChiara’s Opp’n to Rule 404(b) Evid., 2:21-28, 3:1-13, ECF
25
     No. 138.
26
                DiChiara’s insistence that the court conduct voir dire
27
     on the “issue of religion” is rejected. Def. DiChiara’s Trial
28
                                         5
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1    Br., 10:25.

2               As to religion, our jury selections system
                was not designed to subject prospective
3               jurors to a catechism of their tenets of
                faith, whether it be Catholic, Jewish,
4               Protestant, or Mohammedan, or to force them
                to   publicly   declare  themselves   to   be
5               atheists. Indeed, many a juror might have a
                real doubt as to the particular religious
6               category into which they could properly place
                themselves.
7
     United States v. Barnes 604 F.2d 121, 141 (2d Cir. 1979.
8
           “A   judge    serves    the     interest      of    justice     by    keeping
9
     potentially distracting information under wraps.” United States
10
     v.   Alarape   (7th   Cir.    1992)    969   F.2d       349,   351.     Voir      dire
11
     questions should not seek to force jurors to discuss issues not
12
     germane to “determin[ing whether a potential juror has] . . .
13
     bias or prejudice.” Darbin v. Nourse, 664 F.2d 1109, 1112–13 (9th
14
     Cir. 1981).
15
                Further, the following assertion in Defendant George
16
     Larsen’s   trial    brief    is   addressed:      the    Court   is   required     to
17
     admonish   “[a]ny     witness     called     by    the     government      who    was
18
     involved, but not charged, with the real estate transactions at
19
     issue.”    Def. Larsen’s Trial Br., 3:7-9, ECF No. 228.                          “[The
20
     witnesses] should be admonished they have a right under the Fifth
21
     Amendment not to answer questions that might incriminate them.”
22
     Id. at 3:7-10.
23
                The defendant has not provided any authority supporting
24
     this assertion. Whether an advisement is given, is solely within
25
     the discretion of the judge. See United States v. Scully, 225
26
     F.2d 113, 116 (2nd Cir. 1955) (“[T]he mere possibility that the
27
     witness may later be indicted furnishes no basis for requiring
28
                                            6
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1    that   he    be    advised   of     his   [or    her]   rights   under    the       Fifth

2    Amendment,        when   summoned    to   give    testimony      before   a     .    .   .

3    Jury.”); see also Thompson v. Henry, No. 1:05CV00141 ALA HC, 2008

4    WL 4058074, at *16 (E.D. Cal. Aug. 28, 2008)(indicating it is the

5    judge's discretionary decision whether to warn a witness about

6    his or her right not to testify).

7    Dated:      September 8, 2017

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